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           Google Chat Retention Policy
           Policy Last modified: November 18, 2020
           Page last modified: February 26, 2021



           Our Google Chat retention policy aims to reduce redundant, obsolete, and trivial information in corporate chats.
           By helping us all focus on our most meaningful and useful messages, we can reduce time spent sifting through
           irrelevant old messages and reduce storage costs.



           Retention Periods
           • 24 hours if history is off

           • 30 days for history-on chats with just one one other person

           • Currently 18 months for history-on chats in a group conversation or flat (non-threaded) room
              • Exception: 30 days if the history-on flat room was created from within classic Hangouts before 11/18/20
              • Please be aware: You may have noticed that your group chats created in classic Hangouts are also reflected
                as flat rooms in Google Chat (and vice versa). Historically, both had a retention period of 30 days. The
                current 18-month retention of flat rooms is a technical interim step and will be brought back to the initial 30
                days earliest H1 2021 (we'll be sure to announce when this is happening!). If you need 18-month-long
                retention, please consider a threaded room instead.

           • 18 months for chats in a threaded room (history is always on and can't be turned off)

               NOTE: Turning history "on" or "off" applies only to messages sent after that change. For example, if you send
               or receive messages while history is "off" and then you turn it "on," the pre-existing messages will only be
               retained for 24 hours.



               NOTE: Once a chat's retention period expires and it's removed from your view, it can't be recovered back into
               your view.




           Business Records
           If your role involves data that is potentially subject to different or longer retention periods (for example, private
           user data or tax records), consider taking information like this off of Chat into Gmail (Gmail Retention Policy),
            Google Docs, or another storage system. If you aren't sure whether the data you're handling should be stored
           outside of Chat for a different retention period, reach out to your manager or product counsel (go/whichlawyer).
                Otherwise, feel free to reach out to us at records-retention@google.com          for more general data retention
           questions.




           Legal Holds
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       If you've been notified that you're subject to a "legal hold": To comply with our preservation obligations, your
       Google Chats described below will be preserved automatically (all retention periods are paused) while the
       relevant matter is pending. Still, don't manually delete any chats relevant to the matter at issue under any
       circumstances.

           • On-the-record 1 :1 s, Group DMs, and Flat Rooms you've sent or received

           • Threaded Rooms conversations in which you've participated (i.e., sent a message, not just received)

       Once all applicable legal holds have been lifted, the retention periods will take effect again and remove expired
       messages.



           Policy Scope
       This policy applies to corporate Google Chat only. It applies to all employees and our extended workforce
       (temporary workers/vendors/contractors) across Alphabet (minus Calico and Sidewalk Labs).



           Approvals & Changes
           This policy periodically will be reviewed by Google Legal to ensure alignment and compliance with our legal and
           regulatory obligations. Any changes to this retention policy will be approved by Google Legal.



           Questions/Feed back
           If you have any questions about this policy, you can send us an email at records-retention@google.com.

                                                             Chat Retention FAQs




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https://support.google.com/info-gov/answer/9366391?hl=en&ref_topic=10252791                                                     2/2
